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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

DENNIS BURBACK, KEN EDDY                      §
and MARK ANDERSEN,                            §
                                              §
       Plaintiffs,                            §
                                              §
v.                                            §                  Case No. 4:20-cv-00946-SDJ
                                              §
ROBERT OBLON, JORDAN BROCK,                   §
JEFF BOLLINGER, JOHN THATCH,                  §
FOUR OCEANS GLOBAL, LLC,                      §
FOUR OCEANS HOLDINGS, INC.,                   §
ALCHEMIST HOLDINGS, LLC,                      §
ELEPRENEURS U.S., LLC,                        §
ELEVACITY U.S., LLC, SHARING                  §
SERVICES GLOBAL CORPORATION,                  §
CUSTOM TRAVEL HOLDINGS, INC., and             §
DOES 1-5,                                     §
                                              §
       Defendants.                            §

     DEFENDANT JOHN “JT” THATCH’S REPLY TO PLAINTIFFS’ RESPONSE TO
       MOVANT’S MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Defendant John “JT” Thatch (“Movant”) files his Reply (“Reply”) to Plaintiffs’ Response

(“Response”) [ECF No. 26] to Movant’s Motion to Dismiss for Failure to State a Claim (“Motion”)

[ECF No. 19], as follows:

                                  SUMMARY OF REPLY

       Movant’s Motion challenges the sufficiency of Plaintiffs’ pleading and demonstrates with

abundant clarity that Plaintiffs have failed to satisfy their pleading burdens under both Rule

12(b)(6) and 9(b) of the Federal Rules of Civil Procedure. Plaintiffs’ Response to Movant’s

Motion to Dismiss is nothing more than a regurgitation of the same insufficient allegations




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contained in their Complaint,1 which as detailed in Movant’s Motion, is woefully deficient to

survive a motion to dismiss under the applicable standards. The Court need only review the

allegations in Plaintiffs’ Complaint to arrive at the same conclusion.

                           PLAINTIFFS’ ERRORNEOUS CHRONOLOGY
                           BELIES THEIR CLAIMS AGAINST MOVANT

         It is important to note that Plaintiffs’ alleged causes of action against Movant suffer from

a factual flaw related to the chronology. Movant was not even associated with the Defendants

during the relevant time period when the Plaintiffs contend the fraudulent conduct occurred.2 The

crux of Plaintiffs’ claims is that Defendant Robert Oblon on behalf of Defendant Four Oceans

Group fraudulently solicited investments from the Plaintiffs.3 In fact, Movant’s name does not

even appear in the substantive portion of the Complaint until page 19, well into Plaintiffs’

allegations of fraud, and subsequent to the transactions which form the basis of Plaintiffs’ alleged

fraud claims. The alleged fraud, including the Plaintiffs’ crucial act of reliance on the alleged

fraud, occurred well before Movant had any association with the other persons or entities involved

in this matter.4

                 ARGUMENTS AND AUTHORITIES IN SUPPORT OF REPLY

         A.        Plaintiffs Erroneously Try to Impute Fraud to Movant.

         Plaintiffs’ Response concedes two important points: (1) that Plaintiffs’ claims in this case

are squarely fraud-based claims, and (2) Plaintiffs’ claims against Movant are based upon



1        Plaintiffs’ Response, at pp. 3-7, 12, 14, 17-20, n. 2-17, 47-54, 64-72, 80-81, 85-87, 91-98 (containing citations
to over a hundred paragraphs of Plaintiffs’ Complaint).

2        Plaintiffs concede that Movant did not even become connected with any of the Defendant companies until
2018, two and a half years after the alleged fraudulent activity upon which Plaintiffs’ entire case is predicated allegedly
took place. See Complaint at p. 10, ¶ 42; p. 19, ¶ 68.

3        See Complaint at pp. 10, ¶¶ 41-42.

4        See Complaint at pp. 10-11, ¶¶ 41-44.

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Movant’s alleged “silence”, “omissions” and “nondisclosures” as opposed to the mere “handful”

of alleged misstatements allegedly made by Movant. Plaintiffs’ Response, at pp. 2-3, 6-7 (stating

that Plaintiffs’ “case is one primarily sounding in fraud”, that Plaintiffs “only attribute a handful

of overt statements to [Movant]” which “do not form the crux of Plaintiffs’ claims against

[Movant]” and that the “heart of the case against [Movant]” are his alleged “silence, omissions,

and nondisclosures”) (emphasis added).5 Thus, Plaintiffs effectively admit they are not asserting

a traditional fraud claim against Movant (which simply bolsters Movant’s challenge to the

impropriety of such claims) and that their claims against Movant are entirely predicated upon

Movant’s “silence”. Id.

         Accordingly, the heightened pleading requirements of Rule 9(b) for fraud claims are

particularly important in this case where the entirety of Plaintiffs’ claims are admittedly predicated

upon the alleged acts of people other than Movant, which Plaintiffs conveniently and generically

contend should simply be imputed to Movant by “inference”. Id. at pp. 6-7 (alleging Movant is

liable based upon “other facts and inferences therefrom, including statements from his co-

conspirators, when considered as a whole and taken as true . . . .”).

         Despite Plaintiffs’ contention that their claims against Movant are “supported by well-

pleaded, specific facts” and are not “merely speculation”, a review of Plaintiffs’ Complaint reveals

just the opposite. Similarly, being nothing more than a lengthy regurgitation of the same

conclusory allegations from their Complaint, Plaintiffs’ Response does not somehow magically

translate their deficient pleading into one that meets their heightened burden to survive Movant’s

Motion to Dismiss.



5        Accord Plaintiffs’ Response, at pp. 6-7 (“Plaintiffs went to great lengths to make clear that the Complaint
allegations relating to [Movant] were predicated upon his subsequent knowledge of [prior alleged fraudulent acts] . .
. [Movant] learned of and had actual (or at least constructive) knowledge of the [prior alleged fraudulent acts] at some
time after [the alleged fraudulent acts] . . . .”).

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        B.      Applicable Pleading Standards – FRCP 9(b) and 12(b)(6).

        The applicable standards for construing the sufficiency of fraud pleadings under Rules

12(b)(6) and 9(b) are well known to the Court and succinctly outlined in Movant’s Motion. See

Movant’s Motion, at pp. 4-7 (outlining 12(b)(6) and 9(b) standards) (citing Ashcroft v. Iqbal, 556

U.S. 662, 679 (2009) (reviewing a motion to dismiss under 12(b)(6) is a “context-specific task that

requires the reviewing court to draw on its judicial experience and common sense.”); Jefferson v.

Lead Indust. Ass’n, Inc., 106 F.3d 1245, 1250 (5th Cir. 1997) (summarizing “familiar” 12(b)(6)

standards), Gonzalez v. Bank of Am. Ins. Servs., 454 F. App’x 295, 301 (5th Cir. 2011) (affirming

district court dismissal of plaintiff’s fraud claim, stating that “[a]lthough the amended complaint

is replete with generalized allegations of wrongful conduct, [plaintiff] fails to allege facts

indicating that [defendants] acted in an actionable manner towards him personally”); Williams v.

WMX Techs., 112 F.3d 175, 177-80 (5th Cir. 1997) (remanding case to district court to dismiss

plaintiff’s fraud claims for failure to plead alleged fraud with particularity as required by Rule

9(b), stating that “articulating the elements of fraud with particularity requires a plaintiff to specify

the statements contended to be fraudulent, identify the speaker, state when and where the

statements were made, and explain why the statements were fraudulent.”) (quoting Mills v. Polar

Molecular Corp., 12 F.3d 1170, 1175 (2nd Cir. 1993)).

        Notwithstanding these well-settled standards, Plaintiff’s Response (and indeed Plaintiffs’

Complaint itself) relies almost exclusively upon the premise that the Court must simply take their

allegations as true and that the “inferences” drawn from their pleaded facts “when viewed in a light

most favorable to Plaintiffs” are enough to survive a motion to dismiss. Plaintiffs’ Response, at

pp. 1, 6-7. However, Plaintiffs’ burden is not merely to “apprise [Movant] of the nature of




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Plaintiffs’ claims against him”;6 Plaintiffs’ burden is to plead with particularity sufficient factual

allegations that “raise a right to relief above the speculative level,” which means that a Court

cannot “accept as true a legal conclusion couched as a factual allegation.” Twombly, 550 U.S. at

555 (stating that “plausibility standard requires more than a sheer possibility that the defendant

acted unlawfully.”); accord Cunningham v. TechStorm, LLC, No. 3:16-CV-2879-M, 2017 WL

721079, at *1-3 (N.D. Tex. Feb. 23, 2017) (dismissing plaintiff’s complaint for failing to satisfy

the pleading standards set forth in Twombly and Iqbal and concluding that plaintiff’s complaint

failed to “adequately plead facts from which the Court could conclude that the Defendant is liable

for the misconduct alleged.”). Here, Plaintiffs’ entire premise that their claims against Movant can

simply be “inferred” from a litany of conclusory legal conclusions is entirely incorrect. See Iqbal,

556 U.S. at 678 (although all factual allegations in a complaint are taken as true, this presumption

is “inapplicable to legal conclusions”); accord Jefferson, 106 F.3d at 1250 (“conclusory legal

accusations that merely masquerade as factual conclusions will not preclude dismissal.”).

         Despite the voluminous nature of Plaintiffs’ Complaint (and Response), as detailed in

Movant’s Motion, Plaintiffs’ conclusory allegations against Movant are legally insufficient to

satisfy their requisite pleading standards for fraud claims under the above-cited rules. Plaintiffs’

Response further highlights the deficiencies in Plaintiffs’ pleadings.

         C.        The Alleged Silence Is Not Enough -- Plaintiffs’ Do Not Allege a Legally
                   Cognizable Duty to Disclose.

         Given that Plaintiffs now concede that their claims against Movant are solely predicted

upon his “silence” or “nondisclosures”, the propriety of Plaintiffs’ Complaint against Movant

naturally becomes a narrower and more focused analysis on Plaintiffs’ specific allegations, or the


6         Plaintiffs’ Response, at p. 2 (contending that the analysis of Movant’s Motion is simply “whether, assuming
all the allegations – and all inferences that properly may be drawn [sic] the allegations – are true, those allegations
and inferences sufficiently apprise [Movant] of the nature of Plaintiffs’ claims against him . . . .”) (italics in original).

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lack thereof, related to Plaintiffs’ fraud by nondisclosure claim against Movant. See supra, at p.

2 (citing to portions of Plaintiffs’ Response conceding true nature of claims against Movant);

accord Plaintiffs’ Response, at pp. 2-3, 6-7, 10.

         Plaintiffs fail to allege in their Complaint that Movant owed Plaintiffs a specific, legally

cognizable duty to disclose certain facts, such as a fiduciary duty.7 Instead, Plaintiffs merely allege

that “[all] Defendants had a duty to Plaintiffs that required them to disclose facts to Plaintiffs.”

Plaintiffs’ Complaint, at ¶ 183. Despite their duty to establish a duty to disclose, in their Response,

Plaintiffs attempt to rely upon the premise that a “duty to speak arises by operation of law” in an

apparent effort to salvage the glaring omission of specific facts in their Complaint which would

even arguably give rise to such a duty as against Movant under the specific circumstances of this

case. See Plaintiffs’ Response, at pp. 10-11 (alleging “duty to speak” arises by operation of law);

compare Plaintiffs’ Complaint, at ¶¶ 109, 178(e), 185 (only portions of Plaintiffs’ Complaint

alleging general, nebulous, unarticulated “duty to speak” on all Defendants).

         Movant’s Motion specifically addressed the fact that Plaintiffs have utterly failed to plead

any legally cognizable facts against Movant to support even an arguable basis for the recognition

of a duty of disclosure on Movant (even assuming a duty could be recognized in theory under the

law). See Movants’ Motion, at pp. 14-19. As reiterated in their Response, the totality of the claims

against Movant are predicated upon his alleged knowledge (including alleged constructive

knowledge) of acts or omissions of others, which itself is based upon either “information and

belief” or mere “inference”. Plaintiffs’ Response, at pp. 6-7 (alleging that “inferences” from

allegations against others gave Movant “at least constructive knowledge” of alleged fraudulent



7         Plaintiffs do not assert a claim of breach of fiduciary duty against Movant. See Movant’s Motion, at pp. 16-
19, n. 9 (highlighting fact that Plaintiffs have not alleged that Movant owed them a fiduciary duty or that Plaintiffs
have brought a claim against Movant for alleged breach of fiduciary duty).


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acts).8

          Plaintiffs’ Complaint is completely devoid of any specific facts about how Movant

allegedly obtained this “knowledge”, and simply alleging that someone’s knowledge should be

“inferred” or implied is legally insufficient to establish a duty to disclose. See Tuchman v. DSC

Communications Corp., 14 F.3d 1061, 1068 (5th Cir. 1994) (noting that while “fraud pleadings

may be based on information and belief . . . this luxury ‘must not be mistaken for license to base

claims of fraud on speculation and conclusory allegations.’”), (quoting Wexner v. First Manhattan

Co., 902 F.2d 169, 172 (2nd Cir. 1990)); see also Schroeder v. Wildenthal, No. 3:11-CV-0525-B,

2011 WL 6029727, at *3-4,7 (N.D. Tex. Nov. 30, 2011) (granting defendant’s motion to dismiss

under Rule 12(b)(6) and dismissing plaintiff’s claims of fraud with prejudice, noting that “a

number of courts have stated unequivocally that a fiduciary duty, or at least some duty resembling

a fiduciary duty, is necessary to allege a constructive fraud cause of action.”) (citations omitted).

Plaintiffs’ Response does nothing to either change these requirements or somehow resuscitate

Plaintiffs’ Complaint into a viable pleading against Movant.

          D.      Plaintiffs’ Response Only Serves to Highlight the Complaint’s Deficiencies.

          Plaintiffs’ Response is merely a regurgitation of the same deficient claims and allegations

contained in Plaintiffs’ Complaint. See Plaintiffs’ Response, at pp. 3-7, 12, 14, 17-20, n. 2-17, 47-

54, 64-72, 80-81, 85-87, 91-98 (containing citations to over a hundred paragraphs of Plaintiffs’

Complaint); accord Plaintiffs’ Response, at p. 11, ¶ a. (“Plaintiffs’ Complaint is replete with


8        Accord Plaintiffs’ Complaint, p. 32, ¶ 99 (alleging that “upon information and belief” Defendants were
“aware of (by actual or constructive knowledge) (emphasis added), p. 61, ¶ 139(a) (conclusory and unsupported
contention that Movant had “full knowledge of the Promissory Note-Fraud schemes” without any facts alleged to
demonstrate what or how Movant allegedly obtained such knowledge), p. 73, ¶ 146 (alleging that “[p]roof of scienter
can be inferred from” recital of generic allegations related to alleged schemes) (emphasis added), p. 76 (alleging that
Defendants engaged in alleged schemes and “upon information and belief”, [with Movant’s] full knowledge.”)
(emphasis added), p. 78, ¶ 146(c)(x) (conclusory allegations merely contending that Movant “knew” of alleged
schemes, confusingly and summarily alleging that Movant had “actual, personal knowledge (or constructive
knowledge)” regarding alleged schemes “or came to know of them”) (emphasis added).

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allegations of [Movant’s] actionable silence, omissions, and nondisclosures”), p. 14-15 (“scienter

can be inferred from a litany of facts . . . which are here assumed to be true . . that [Movant] had

“manifest knowledge” of alleged schemes . . . “[Movant’s] fraudulent intent may be inferred,

because they establish [Movant’s] motive [and opportunity] to commit securities fraud”), p. 19

(“Each of these causes of action – as directed to [Movant] – are predicated upon his actionable

silence, omissions, and nondisclosures, amply detailed in the Complaint”), p. 20 (“because

Plaintiffs’ fraud-based claims are sufficiently pleaded . . . , so too are Plaintiffs’ claims of unjust

enrichment, civil conspiracy, aiding and abetting, and accounting.”).

       Both the Complaint and the Response rely exclusively upon conclusory allegations, such

as the allegation that knowledge of other person’s actions may be “imputed” to Movant or that the

claims against Movant can be “inferred” from the generic “fraud scheme” allegations. Plaintiffs’

Response, at p. 6, fn. 15 (alleging Movant was the “architect” of the “plan”) (citing to Plaintiffs’

Complaint, at ¶¶ 72-92 (containing general allegations that Defendants engaged in a “scheme” or

“plan” to defraud Plaintiffs).

       However, nowhere in their Complaint or their Response do Plaintiffs even attempt to

specify how Movant allegedly obtained knowledge of the alleged “fraud scheme”, such as by

alleging that on date “X,” a document was sent to Movant containing “X” information or that

person “X” told Movant this specific information, as opposed to merely contending that Movant

is automatically liable simply due to his role as an officer or director of one of the named entities.

See e.g. Plaintiffs’ Complaint, at ¶ 68 (“as an officer of SHRG [Movant] . . . learned of the fraud

and the fraudulent [scheme]”), ¶ 70 (“[Movant] . . . subsequently learned of Oblon’s fraud”), ¶ 71

2. (“Current and Former Officers and Directors of SHRG, Oblon, Brock and [Movant], as well as

Bollinger and CTH, Schemed to Orchestrate a Fraudulent Transfer”). Plaintiffs’ Response



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reiterates that the allegations against Movant boil down to a generic claim that he was the

“architect” of the “plan” to defraud Plaintiffs. Plaintiffs’ Response, at p. 6, n. 15 (alleging Movant

was the “architect” of the “plan”) (citing to Plaintiffs’ Complaint, at ¶¶ 72-92 (containing general

allegations that Defendants engaged in a “scheme” or “plan” to defraud Plaintiffs). In fact, general

allegations that a defendant was the “architect” of some alleged fraud are exactly the same type of

allegations which the Court in Iqbal held were not entitled to a presumption of truth:

           “‘[Defendants] knew of, condoned, and willfully and maliciously agreed to
            subject [Plaintiff]’ to harsh conditions of confinement . . .” Iqbal, 556 U.S.
            at 680.

           One defendant was the “‘principal architect’ of the invidious policy” and
            another defendant was “‘instrumental’ in adopting and executing [the
            policy].” Id. at 681.

       Plaintiffs’ Complaint contains nothing more than generic, conclusory allegations, and is

noticeably void of any specific facts alleging who provided Movant with what information when,

or how such information was fraudulent. As such, Plaintiffs’ Complaint is legally insufficient to

satisfy Plaintiffs’ pleading burdens under Rules 9(b) and 12(b)(6), and Plaintiffs’ Response adds

nothing and does nothing to salvage the Complaint from these deficiencies. See Benchmark Elecs.,

Inc. v. J.M. Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003) (“Put simply, Rule 9(b) requires ‘the

who, what, when, where, and how’ to be laid out” with respect to a fraud claim).

       E.      No Amended Pleading Requested or Permitted.

       Plaintiffs have not requested or sought relief to amend their Complaint; thus, no such relief

can be granted. Even if Plaintiffs had requested such relief, any amendment would be futile and

thus leave to amend should be rejected because it clearly appears beyond doubt that Plaintiffs can

prove no set of facts in support of their claims against Movant. Leffall v. Dallas Indep. Sch. Dist.,

28 F.3d 521, 524 (5th Cir. 1994); Briggs v. Miss., 331 F.3d 499, 508 (5th Cir. 2003) (holding that

“the proposed amended complaint could not survive a Fed. R. Civ. P. 12(b)(6) motion and allowing

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[plaintiff] to amend the complaint would be futile.”); accord Landavazo v. Toro Co., 301 F. App’x

333, 337 (5th Cir. 2008) (“The district court does not abuse its discretion in denying leave to amend

if allowing amendment of the complaint would be futile.”).

                                           CONCLUSION

        Plaintiffs’ Complaint, and now Plaintiffs’ Response, attempt to allege a claim of fraud

against Movant by the use of sheer volume and generic allegations of an alleged “scheme” among

all Defendants. The lack of specific allegations against Movant is apparent on the face of

Plaintiffs’ Complaint, and Plaintiffs’ Response is an attempt to either substitute the Complaint’s

lack of merit or just further muddy the waters in hopes of diverting the Court’s attention away

from the simple fact that the Plaintiffs cannot articulate a single actionable claim against Movant.

These are precisely the type of nebulous and unarticulated allegations which Rules 9(b) and

12(b)(6) are aimed at dismissing at the onset of a case. Plaintiffs’ Complaint clearly fails to satisfy

its burden of pleading fraud with particularity as to Movant, rendering such claims fatally defective

and ripe for dismissal.

        WHEREFORE, PREMISES CONSIDERED Defendant/Movant John “JT” Thatch

respectfully requests that the Court enter an Order granting his Motion, setting forth in such Order

that all of Plaintiffs’ claims and causes of action asserted against Movant are dismissed in their

entirety without affording Plaintiffs an opportunity to amend their pleadings as to Movant, and

that the Court grant Plaintiffs such other and further relief to which Plaintiffs may be justly entitled.




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                                             Respectfully submitted,


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                                             ATTORNEYS FOR DEFENDANT
                                             JOHN “JT” THATCH


                                CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of February 2021, I electronically filed the foregoing
document with the Clerk of Court for the United States District Court, Eastern District of Texas,
using the Electronic Case Filing system of the Court, which will provide service copies to all
counsel of record by electronic means.




                                                     /s/ Matthew K. Davis




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